









Dismissed and Memorandum Opinion filed January 5, 2006









Dismissed and Memorandum Opinion filed January 5,
2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-01019-CR

____________

&nbsp;

JAMES RODERICK CRAWFORD,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
176th District Court

Harris County, Texas

Trial Court Cause No. 1021608

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to the offense of aggravated
sexual assault of a child.&nbsp; In accordance
with the terms of a plea bargain agreement with the State, the trial court
sentenced appellant on August 31, 2005, to confinement for eight years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of appeal.&nbsp; Because appellant has no right to appeal, we
dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed January 5, 2006.

Panel consists of Justices Hudson,
Frost, and Seymore. 

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





